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UNITED STATES DISTRICT COURT ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK DOC #: |
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UNITED STATES OF AMERICA,

~y- ; 11-CR-724 (KMW)
19 CR 116 (KMW)
SAMMY VELASQUEZ, : ORDER
a/k/a Sal Castro :
Defendant. :
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KIMBA WOOD, United States District Judge:

The defendant’s conference will occur as a videoconference using the CourtCall platform
on October 20, 2020, at 11:00 a.m. Defense counsel will be given an opportunity to speak with
the Defendant by telephone for fifteen minutes before the sentencing proceeding begins (..c., at
10:45 a.m.); defense counsel should make sure to answer the telephone number that is published
on the docket.

To optimize the quality of the video feed, only the Court, the Defendant, defense counsel,
and counsel for the Government will appear by video for the proceeding; all others will
participate by telephone. Due to the limited capacity of the CourtCall system, only one counsel
per party may participate. Co-counsel, members of the press, family and the public may access
the audio feed of the conference by calling 855-268-7844 and using access code 67812309# and
PIN 9921299#.

In advance of the conference, Chambers will email the parties with further information on
how to access the conference. Those participating by video will be provided a link to be pasted

into their browser. The link is non-transferrable and can be used by only one person;

 
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further, it should be used only at the time of the conference because using it earlier could result
in disruptions to other proceedings.
To optimize use of the CourtCall technology, all those participating by video should:

1. Use the most recent version of Firefox, Chrome, or Safari as the web browser. Do
not use Internet Explorer.

2. Use hard-wired internet or WiFi. If using WiFi, the device should be positioned
as close to the Wi-Fi router as possible to ensure a strong signal. (Weak signals
may cause delays or dropped feeds.)

3. Minimize the number of others using the same WiFi router during the conference.

Further, all participants must identify themselves every time they speak, spell any proper names
for the court reporter, and take care not to interrupt or speak over one another. Finally, all of
those accessing the conference —— whether in listen-only mode or otherwise -— are reminded that
recording or rebroadcasting of the proceeding is prohibited by law.

If possible, defense counsel shall discuss the attached Waiver of Right to be Present at
Criminal Proceeding with the Defendant prior to the proceeding. If the Defendant consents, and
is able to sign the form (either personally or, in accordance with Standing Order 20-MC-174 of
March 27, 2020, by defense counsel), defense counsel shall file the executed form at least 24
hours prior to the proceeding. In the event the Defendant consents, but counsel is unable to
obtain or affix the Defendant’s signature on the form, the Court will conduct an inquiry at the
outset of the proceeding to determine whether it is appropriate for the Court to add the
Defendant’s signature to the form.

To the extent that there are any documents relevant to the proceeding (e.g., proposed
orders or documents regarding restitution, forfeiture, or removal), counsel should submit them to
the Court (by email or on ECF, as appropriate) at least at least 24 hours prior to the

proceeding. To the extent any documents require the Defendant’s signature, defense counsel

 

 
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should endeavor to get them signed in advance of the proceeding as set forth above; if defense
counsel is unable to do so, the Court will conduct an inquiry during the proceeding to determine

whether it is appropriate for the Court to add the Defendant’s signature.

SO ORDERED.

Ile
Dated: October 19, 2020 mtr YW. Yor

New York, New York : KIMBA M. WOOD
United States District Judge

 
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA

WAIVER OF RIGHT TQ BE
v PRESENT AT CRIMINAL
PROCEEDING

SAMMY VELASQUEZ,

Defendant. 11 -CR-724 (KMW)

 

° x 19-CR-116 (KIMW)

Check Proceeding that Applies

Date:

Entry of Pilea of Guilty

{ am aware that | have been charged with violations of federal Jaw, | have consulted with
my attorney about those charges. | have decided that | wish to enter a plea of guilty to
certain charges. | understand | have a right to appear before a judge in a courtroom in
the Southern. District of New York to enter my plea of guilty and to have my attorney
beside me as | do. | am also aware that the public health emergency created by the
COVID-19 pandemic has interfered with travel and restricted access to the federal
courthouse. | have discussed these issues with my attorney. By signing this document, |
wish to advise the court that | willingly give up my right to appear in person before the
judge to enter a plea of guilty. By signing this document, | also wish to advise the court
that | willingly give up any right | might have to have my attorney next to me as | enter my
plea so long as the following conditions are met. | want my attorney to be able to
participate in the proceeding and to be able to speak on my behalf during the proceeding.
| also want the ability to speak privately with my attorney at any time during the
proceeding if 1 wish to do so.

 

 

Print Name Signature of Defendant

Sentence

{| understand that | have a right to appear before a judge in a courtroom in the Southern
District of New York at the time of my sentence and to speak directly in that courtroom
to the judge who will sentence me. | am also aware that the public health emergency
created by the COVID-19 pandemic has interfered with travel and restricted access to the
federal courthouse. | do not wish to wait until the end of this emergency to be sentenced.

 
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| have discussed these issues with my attorney and willingly give up my right to be
present, at the time my sentence is imposed, In the courtroom with my attorney and the
judge who will impose that sentence. By signing this document, | wish to advise the court
that | willingly give up my right to appear in a courtroom in the Southern District of New
York for my sentencing proceeding as well as my right to have my attorney next to me at
the time of sentencing on the following conditions. | want my attorney to be able to
participate in the proceeding and to be able to speak on my behalf at the proceeding.

| also want the ability to speak privately with my attorney at any time during the
proceeding if | wish to do so.

Date:

 

 

Print Name Signature of Defendant

| hereby affirm that | am aware of my obligation to discuss with my client the charges against my
client, my client’s rights to attend and participate in the criminal proceedings encompassed by
this waiver, and this waiver and consent form. | affirm that my client knowingly and voluntarily
consents to the proceedings being held with my client and me both participating remotely.

Date:

 

 

Print Name Signature of Defense Counsel

Addendum for a defendant who requires services of an interpreter:

| used the services of an interpreter to discuss these issues with the defendant. The interpreter
also translated this document, in its entirety, to the defendant before the defendant signed it.
The interpreter’s name is:

 

Date:

 

Signature of Defense Counsel

Accepted:

 

Signature of Judge
Date:

 

 
